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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


JANE DOE; MARY DOE
SARA DOE; EMILY DOE;
ZOE DOE; TORI DOE;
OLIVIA DOE; SUSAN DOE;
LOIS DOE; SOPHIA DOE;
SALLY DOE; and WENDY
DOE,
                                      Plaintiffs,            Civil Action No. 1:25-cv-00286
       v.

PAMELA BONDI, et al.,


                                      Defendants.

                        DECLARATION OF RICK STOVER,
                     SENIOR DEPUTY ASSISTANT DIRECTOR
               DESIGNATION AND SENTENCE COMPUTATION CENTER

       I, Rick Stover, declare and state as follows:

       1.      I am currently employed by the Federal Bureau of Prisons (Bureau). Since June

2024, I have served as the Senior Deputy Assistant Director of the Designation and Sentence

Computation Center, within the Bureau’s Correctional Programs Division.

       2.      Prior to becoming Senior Deputy Assistant Director of the Designation and

Sentence Computation Center, I worked in positions of increasing responsibility within the

Bureau, most recently as the Warden at the Federal Correctional Institution in Danbury,

Connecticut.

       3.      I am familiar with the Bureau’s general policies and practices on housing for

inmates who identify with the opposite biological sex, including the rationales for those

policies. As part of my official duties, I have access to records maintained in the ordinary course

of business by the Bureau, including inmate medical and mental health records.
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       12.     The Bureau found that placement at




         . Nonviolent crimes are defined as crimes involving property, drug, and other offenses

which do not involve a threat of harm or an actual attack upon a victim. The most frequently

identified nonviolent crimes involve drug trafficking, drug possession, burglary, and larceny.

Moreover, inmates housed in low security facilities tend to have minor infractions in their

disciplinary history with the Bureau.

       13.     The Bureau found that placement at




       14.     The Bureau found that placement




       15.     The Bureau found that placement at
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       16.       The Bureau found that



       17.       In response to the preliminary injunction that was entered on February 18, 2025,



       18.       The Bureau found that placing the plaintiffs at low security institutions and

Residential Management Centers greatly reduces the chances of plaintiffs being victimized by

other inmates.

       19.       Plaintiffs,




       20.




       21.
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       22.




       23.




       24.     The facilities chosen for each of the plaintiffs currently house other inmates who

identify as female, thereby ensuring that the staff members at the facilities are experienced in

managing and providing care to this special population.




       25.




       26.    The Bureau follows the requirements of the Prison Rape Elimination Act of

2003’s (PREA) implementing regulations to ensure the safety of all inmates, including those who

identify as the opposite biological sex. In deciding whether to assign an inmate to a facility for

male or female inmates, the Bureau’s policy is consistent with PREA standards, in that the

Bureau considers on a case-by-case basis whether a placement would ensure the inmate’s health
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and safety, and whether the placement would present management or security problems. FMC

Rochester is thus particularly well situated to deliver medically necessary health care to inmates

in accordance with proven standards without compromising public safety concerns.

       27.     The FBOP recognizes the importance of protecting all inmates from sexually

abusive behavior and ensure their continued safety. In fact, pursuant to FBOP Program

Statement 5324.12, Sexually Abusive Behavior Prevention and Intervention Program (effective

June 4, 2015), the FBOP implements zero tolerance toward all form of sexual activity in the

custodial environment, including sexual abuse and sexual harassment. Routine training is

provided to all FBOP staff to help detect incidents, perpetrators, and inmate victims of sexually

abusive behavior. FBOP staff are educated to intervene properly and in a timely manner. BOP

staff are required to document, report, and investigate reported incidents. Moreover, BOP is

responsible for disciplining and referring for prosecution perpetrators of sexually abusive

behavior against other inmates.

       28.     All institutional staff are trained to monitor and to intervene when they observe

problematic interactions between inmates. At each FBOP institutions, staff review a Posted

Picture File (PPF) of inmates who are potentially disruptive, escape risks, or present a threat to

staff or institutional security. The FBOP identifies inmates who, because of prior record, current

offense, institutional adjustment, or other factors, pose a significant threat to inmate or staff

safety, the institution’s security, or the surrounding community’s welfare. The PPF is updated at

least quarterly. Institution staff review the PPF regularly for the purpose of determining inmates

with a history of assaultive behavior or a history of sexual offenses, for the purpose of keeping

the institution safe and secure.
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       29.     The FBOP conducts a Prison Rape Elimination Act (PREA) Intake screening upon

an inmate’s arrival to an institution, to ensure any potential for victimization or abusiveness.

Consistent with PREA’s implementing regulations, this screening includes the inmate’s own

perception of their safety and history of sexual assault, FBOP staff’s assessment of the inmate’s

general physical appearance and presentation, and a review of the inmate’s criminal history.

FBOP staff must notify Correctional Services of the inmate’s history of predation to ensure that

the appropriate steps (investigation, documentation, CIMS concerns, etc.) have been taken.

Moreover, if an inmate presents as a risk of victimization, staff will consider a referral to

Psychology Services.

       30.    Furthermore, if at any time, FBOP staff believe that an inmate’s safety may be

seriously jeopardized by placement in the general population, the inmate may be housed in more

restrictive conditions as a protective custody case in the Special Housing Unit. When an inmate

is placed in administrative detention for placement, the Warden or designee (ordinarily to

Captain), must review the placement within two workdays of the placement to determine if

continued protective custody if necessary. This review includes documents that led to the inmate

being placed in protective custody and any other documents pertinent to the inmate’s protection.

       31.     Inmates have numerous ways to report if they have been sexually assaulted or

have been a victim of sexual harassment. An inmate can write directly to the Warden, Regional

Director, or Director. An inmate can send the Warden an Inmate Request to Staff Member (Cop-

out) or a letter reporting the sexually abusive behavior. Moreover, an inmate may also send a

letter to the Regional Director or Director of the Bureau of Prisons, and to ensure confidentiality,

can use special mail procedures. Finally, an inmate can file a Request for Administrative

Remedy (BP-9). If the inmate determines that the complaint is too sensitive to file with the
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